       Case 2:14-cv-01240-JCZ-DEK Document 7 Filed 07/29/14 Page 1 of 1




                            UNITED STATE DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

SUSAN AND JACOB SCHWANDER           *                CIVIL ACTION NO. 2:14-cv-01240
                                    *
VERSUS                              *                JUDGE: JAY C. ZAINEY
                                    *
DR. BRANDT M. ZIMMER, M.D. AND *                     MAGISTRATE: DANIEL E. KNOWLES
DIAGNOSTIC IMAGING SERVICES, *
INC.                                *
                                    *
*************************************

                                   ORDER OF DISMISSAL


       Considering the Notice of Voluntary Dismissal;

       IT IS HEREBY ORDERED that the above-identified civil action be and is hereby

dismissed without prejudice, each party to bear their own costs, pursuant to Fed.R.Civ.P. 41(a)(1).
              Hello This is a Test
       New Orleans, Louisiana, this _____             July
                                    29th day of _______________, 2014.


                                             _______________________________________
                                             JUDGE




                                                1
